Case 3:16-cv-00549-S           Document 45   Filed 09/09/16    Page 1 of 44     PageID 518



                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                     (DALLAS DIVISION)



MARY McCLOSKEY, et al.,                            Civil Action No. 3:16-cv-00549-L
                                                   (Consolidated with Civil Action No.
                 Plaintiff,                        3:16-cv-00668-L)

        v.                                         JURY TRIAL DEMANDED

MATCH GROUP, INC., et al.,

                 Defendants.




             AMENDED CONSOLIDATED CLASS ACTION COMPLAINT FOR
                VIOLATIONS OF THE FEDERAL SECURITIES LAWS




340811.1 MATCH
Case 3:16-cv-00549-S          Document 45       Filed 09/09/16       Page 2 of 44       PageID 519



        Lead Plaintiffs Mary McCloskey and Craig Kneller (“Plaintiffs”), by and through their

undersigned attorneys, allege the following upon personal knowledge as to themselves and their

own acts, and upon information and belief as to all other matters. Plaintiffs’ information and

belief is based on, among other things, the independent investigation of court-appointed Lead

Counsel Glancy Prongay & Murray LLP and Bragar Eagel & Squire P.C. This investigation

included, among other things, a review and analysis of: (i) Match Group’s public filings with the

Securities and Exchange Commission (“SEC”); (ii) public reports and news articles; (iii)

research reports by securities and financial analysts; (iv) economic analyses of securities

movement and pricing data; (v) transcripts of Match Group’s investor calls; (vi) interviews with

former employees and other potential witnesses with relevant information; and (vii) other

publicly available material and data identified herein. Lead Counsel’s investigation into the

factual allegations contained herein is continuing, and many of the facts supporting the

allegations contained herein are known only to the Defendants or are exclusively within their

custody or control. Plaintiffs believe that further substantial evidentiary support will exist for the

allegations contained herein after a reasonable opportunity for discovery.

I.      INTRODUCTION AND NATURE OF THE ACTION

        1.       Plaintiffs bring this action under Sections 11, 12(a)(2), and 15 of the Securities

Act of 1933 (the “Securities Act”), on behalf of themselves and all other persons or entities who

purchased or acquired Match Group, Inc. (“Match Group” or the “Company”) securities pursuant

or traceable to the Company’s Registration Statement and Prospectus issued in connection with

the Company’s Initial Public Offering (the “IPO”), which commenced on November 19, 2015.

        2.       Historically, Match Group focused on internet dating. In 2014, it purchased The

Princeton Review (“TPR”) to expand its business into the non-dating sector of education. Prior

to the transaction with Match group, TPR focused on in-person test preparation services sold to


340811.1 MATCH                                    1
Case 3:16-cv-00549-S         Document 45       Filed 09/09/16     Page 3 of 44     PageID 520



large institutions. Match Group quickly moved to transition TPR into a more electronic-based

model similar to its dating products. Rather than selling its services via lucrative long-term

contracts to large institutional clients such as school districts, Match Group almost immediately

attempted to transition TPR to selling individual student-based online test preparation services.

The process did not go smoothly.

        3.       TPR’s old model locked in substantial income for years at a time. The new model

imposed by Match Group required TPR to be constantly selling its product to many more

customers for much lower revenue per sale. The change of focus had added negative impact to

the Company because it was coupled with a new online, rather than in-person, test preparation

product. To pursue the new strategy and product, Match Group essentially removed TPR’s sales

and slashed its marketing budget staff after the acquisition. Unsurprisingly, TPR struggled

following Match Group’s acquisition and leading up to Match Group’s November 2015 IPO.

However, none of these struggles were disclosed by the Company or its officers until several

months after the IPO.

        4.       Another strike against TPR in the lead up to the IPO was the change in the SAT

standardized college admissions test and the College Board’s offering of free test preparation

services. On March 5, 2014, the College Board announced it was completely reimagining the

SAT, making a large swath of TPR’s products obsolete. Further harming TPR, the College Board

announced it would be offering free test preparation services to students in partnership with the

well-known tutoring organization, Khan Academy. Not only would the College Board-affiliated

services be free, however, they would be superior since they were affiliated with the test makers

themselves.




340811.1 MATCH                                  2
Case 3:16-cv-00549-S          Document 45       Filed 09/09/16      Page 4 of 44         PageID 521



        5.       Despite all these events that were likely to harm and currently harming TPR in the

run up to the IPO, Match Group publicly stated in the IPO’s Registration Statement (as defined

herein) that it expected increased sales from TPR in the second half of 2015.

        6.       The Registration Statement also failed to mention or account for the fact that the

execution of a large institutional tutoring contract with the U.S. Government had been delayed

just prior to the IPO. The execution of the contract, which was eventually signed almost three

months late, was delayed prior to the IPO, yet the Defendants failed to disclose it until after

completion of the IPO.

        7.       In sum, the Defendants knew prior to the IPO that sales were decreasing, yet

omitted that fact and even stated the opposite in the Registration Statement. Further, at the time

of the IPO, the Company only disclosed risks related to its dating business and fully ignored

risks to the non-dating (educational) business. By these actions and omissions, the Defendants

have violated Sections 11, 12(a)(5), and 15 of the Securities Act as set forth herein.

II.     PARTIES

        8.       Plaintiff Mary McCloskey purchased Match Group securities pursuant or

traceable to the Company’s Registration Statement issued in connection with the Company’s IPO

and was damaged thereby, as described in the Certification previously filed on April 26, 2016,

and incorporated herein (ECF No. 11, Ex. B).

        9.       Plaintiff Craig Kneller purchased Match Group securities pursuant or traceable to

the Company’s Registration Statement issued in connection with the Company’s IPO and was

damaged thereby, as described in the Certification previously filed on April 26, 2016, and

incorporated herein (ECF No. 11, Ex. B).




340811.1 MATCH                                   3
Case 3:16-cv-00549-S          Document 45       Filed 09/09/16     Page 5 of 44      PageID 522



        10.      Defendant Match Group is a Delaware corporation with its principal executive

offices located at 8300 Douglas Avenue, Dallas, Texas 75225. The Company’s shares trade on

the NASDAQ Global Select Market (“NASDAQ”) under the symbol “MTCH.”

        11.      Defendant Gregory R. Blatt (“Blatt”) was, at all relevant times, the Chief

Executive Officer (“CEO”) of Match Group and the Chairman of its Board of Directors (the

“Board”). Prior to serving as CEO and Chairman, Blatt served as CEO and a member of the

Board of Match Group’s former parent company, IAC/InterActiveCorp (“IAC”). Blatt signed or

authorized the signing of the false and misleading Registration Statement.

        12.      Defendant Gary Swidler (“Swidler”) was, at all relevant times, the Chief

Financial Officer (“CFO”) of Match Group. Swidler signed or authorized the signing of the false

and misleading Registration Statement.

        13.      Defendant Michael H. Schwerdtman (“Schwerdtman”) was, at all relevant times,

the Vice President (“VP”) and Chief Accounting Officer (“CAO”) of Match Group.

Schwerdtman signed or authorized the signing of the false and misleading Registration

Statement.

        14.      Defendant Gregg J. Winiarski (“Winiarski”) was, at all relevant times, a director

of Match Group. While serving as a director of Match Group, Winiarski was also the Executive

Vice President, Secretary, and General Counsel of Match Group’s former parent company, IAC.

Winiarski signed or authorized the signing of the false and misleading Registration Statement.

        15.      Defendant Joseph M. Levin (“Levin”) was, at all relevant times, a director of

Match Group. While serving as a director of Match Group, Levin was also the CEO of Match

Group’s former parent company, IAC. Levin signed or authorized the signing of the false and

misleading Registration Statement.




340811.1 MATCH                                   4
Case 3:16-cv-00549-S          Document 45        Filed 09/09/16      Page 6 of 44      PageID 523



        16.      Each of the defendants listed in ¶¶ 11-15 are collectively referred to herein as the

“Individual Defendants.” Each of the Individual Defendants either signed or authorized the

signing of the defective Registration Statement and, as such, is liable under the Securities Act.

        17.      Collectively, Match Group and the Individual Defendants are sometimes referred

to herein as the “Match Group Defendants.”

        18.      Defendant J.P. Morgan Securities LLC (“J.P. Morgan”) served as an underwriter

to Match Group in connection with the Offering.

        19.      Defendant Allen & Company LLC (“Allen & Company”) served as an

underwriter to Match Group in connection with the Offering.

        20.      Defendant Merrill Lynch, Pierce, Fenner & Smith Inc. (“Merrill Lynch”) served

as an underwriter to Match Group in connection with the Offering.

        21.      Defendant Deutsche Bank Securities Inc. (“Deutsche Bank”) served as an

underwriter to Match Group in connection with the Offering.

        22.      Defendant BMO Capital Markets Corp. (“BMO Capital”) served as an

underwriter to Match Group in connection with the Offering.

        23.      Defendant Barclays Capital Inc. (“Barclays Capital”) served as an underwriter to

Match Group in connection with the Offering.

        24.      Defendant BNP Paribas Securities Corp. (“BNP Paribas”) served as an

underwriter to Match Group in connection with the Offering.

        25.      Defendant PNC Capital Markets LLC (“PNC Capital”) served as an underwriter

to Match Group in connection with the Offering.

        26.      Defendant Cowen & Company, LLC (“Cowen & Company”) served as an

underwriter to Match Group in connection with the Offering.




340811.1 MATCH                                    5
Case 3:16-cv-00549-S          Document 45        Filed 09/09/16      Page 7 of 44      PageID 524



        27.      Defendant SG Americas Securities, LLC (“SG Americas”) served as an

underwriter to Match Group in connection with the Offering.

        28.      Defendant Fifth Third Securities, Inc. (“Fifth Third”) served as an underwriter to

Match Group in connection with the Offering.

        29.      Defendant Oppenheimer & Co. Inc. (“Oppenheimer”) served as an underwriter to

Match Group in connection with the Offering.

        30.      Each of the defendants listed in ¶¶ 18-29 are collectively referred to herein as the

“Underwriter Defendants.”

        31.      Collectively, Match Group, the Individual Defendants, and the Underwriter

Defendants are referred to herein as “Defendants.”

III.    JURISDICTION AND VENUE

        32.      The claims asserted herein arise under Sections 11, 12(a)(2) and 15 of the

Securities Act (15 U.S.C. § 77k, § 771 and § 77o, respectively).

        33.      This Court has jurisdiction over the subject matter of this action pursuant to

Section 22 of the Securities Act (15 U.S.C. § 77v) and 28 U.S.C. § 1331.

        34.      Venue is proper in this Judicial District pursuant to Section 22 of the Securities

Act (15 U.S.C. § 77v) and 28 U.S.C. § 1391(b). Substantial acts in furtherance of the alleged

fraud or the effects of the fraud occurred in this Judicial District. One or more Defendants

maintain offices or conduct business within this Judicial District. Additionally, at all times

relevant hereto, Match Group’s stock traded on the NASDAQ.

        35.      In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

United States mail, interstate telephone communications, and the facilities of a national securities

exchange.


340811.1 MATCH                                    6
Case 3:16-cv-00549-S          Document 45      Filed 09/09/16      Page 8 of 44     PageID 525



IV.     RELEVANT BACKGROUND

        A.       Confidential Witnesses

        36.      Plaintiffs’ allegations are further supported by confidential witnesses (“CWs”),

each of whom was employed by Match Group prior to Match Group’s November 19, 2015 IPO.

        37.      CW1 was employed by TPR from June 2010 through July 2015. CW1 served as

an Account Manager for TPR’s College Readiness Program starting in June 2010 until CW1 was

later promoted to National Director of TPR’s College Readiness Program in September 2013,

which position CW1 held until July 2015. According to CW1, the College Readiness Program

was a program geared to offer public school students with free test-prep programs for the SAT

and ACT standardized exams. In both positions, CW1 reported to VP of Institutional Sales, Joe

Guerra.

        38.      CW2 was employed by TPR as an Operations Manager for the Newton,

Massachusetts, field office – which oversaw TPR’s sales activities throughout most of New

England – from October 2015 to February 2016.

        B.       Match Group’s Creation and Acquisition of TPR

                 1.     Match Group Is Created, Consisting of Dating and Educational (i.e.
                        Non-Dating) Businesses

        39.      IAC is a media and Internet company that was founded in 1986 as Silver King

Broadcasting Company. IAC changed its name to IAC/Interactive Corp in July 2004 after a

series of acquisitions and divestitures.

        40.      Match.com, which according to Match Group is the largest dating site in the

world, was launched in 1995. Following the launch of Match.com, IAC launched or acquired a

number of other dating websites and mobile apps, with its platform of dating products now

including, among others, OkCupid, Tinder, PlentyOfFish, Meetic, and OurTime.



340811.1 MATCH                                   7
Case 3:16-cv-00549-S          Document 45       Filed 09/09/16       Page 9 of 44   PageID 526



        41.      On January 7, 2013, IAC announced that it had acquired online tutoring firm

Tutor.com, which, at the time, boasted a network of over 2,500 tutors that provided on-demand

one-on-one teaching sessions. Although Tutor.com traditionally focused on core K-12 subjects,

prior to its acquisition by IAC, Tutor.com had expanded into Advanced Placement (“AP”)

courses, college-level curriculum and real-time writing help. Tutor.com’s personalized learning

programs were offered by direct consumer subscription and through partnerships with public and

academic libraries, school districts, the United States military, and colleges.

        42.      On December 19, 2013, IAC announced the creation of Match Group – a wholly-

owned subsidiary of IAC, which included, inter alia, Match, the online dating business, and

Tutor.com, the educational, or non-dating business.

        43.      Match Group is perhaps best known for its dating-related business platforms.

Overall, Match Group operates a portfolio of approximately 45 dating products. Dating revenue

consists primarily of recurring membership fees and advertising on its dating applications and

websites.

        44.      As part of the reorganization, Defendant Blatt stepped down from his position as

CEO of IAC and became the CEO and Chairman of Match Group.

        45.      On July 28, 2014, Match Group announced an agreement to acquire TPR from

Charlesbank Capital Partners. The acquisition of TPR was completed on August 1, 2014.

Thereafter, TPR subsumed Tutor.com, with both operating under The Princeton Review brand,

and the combined TPR continued to operate as part of IAC’s Match Group subsidiary. According

to a press release regarding Tutor.com published by Match Group on July 29, 2014, “[s]ervices

of the combined company are expected to be offered to consumers primarily under The Princeton

Review brand with Tutor.com used for certain institutional clients.”




340811.1 MATCH                                    8
Case 3:16-cv-00549-S         Document 45       Filed 09/09/16      Page 10 of 44       PageID 527



        46.      Mandy Ginsberg (“Ginsberg”) served as CEO of TPR from August 2014 through

the November 2015 IPO, before being promoted to CEO of Match Group North America in

December 2015.

        47.      Following Ginsberg’s promotion, Kate Walker (“Walker”), who had previously

served as Senior Vice President (“SVP”) of Strategy and Corporate Development at Tutor.com

since February 2014 and the CFO of TPR since September 2014, assumed Ginsberg’s role as

CEO of TPR in January 2016.

                 2.     Match Group’s Non-Dating Business Segment: TPR

        48.      According to the IPO Registration Statement (defined herein at ¶ 87 n.2, infra),

Match Group “operate[s] a non-dating business in the education industry through [its] ownership

of The Princeton Review. The Princeton Review provides a variety of test preparation, academic

tutoring and college counseling services.” In the IPO Registration Statement, Match Group also

reported that “The Princeton Review includes Tutor.com (acquired in 2012) and The Princeton

Review (acquired in 2014).” Registration Statement, at 109.

        49.      TPR generates approximately 10% of the Company’s revenue. According to

Match Group, this non-dating revenue consists primarily of fees received for in-person and

online test preparation classes, access to online test preparation materials and individual tutoring

services. Registration Statement, at 68.

        50.      TPR is perhaps best known for its test preparation materials for K-12 standardized

exams, and college and graduate-level admissions tests, including the SAT, PSAT, ACT, GRE,

GMAT, LSAT, MCAT, and AP exams. According to a J.P. Morgan report published on

December 14, 2015, the cost of SAT preparation offered by TPR to individual students can range

from $599-$699 for 15 hours of preparation in a class of approximately 12 students, or $3,240-

$8,400 for 24 hours of private test preparation.


340811.1 MATCH                                     9
Case 3:16-cv-00549-S         Document 45        Filed 09/09/16      Page 11 of 44       PageID 528



         51.     In addition to its test preparation services, TPR also offers tutoring and college

admission services.

         52.     TPR’s tutoring and homework help programs are offered to consumers and

institutions, including the United States military, school districts, colleges, and public libraries,

through Tutor.com. According to the same December 14, 2015 J.P. Morgan report, TPR’s online

tutoring services range in price from $39.99 for one hour per month to $339.99 for ten hours per

month.

         53.     As part of TPR’s college admission counseling services, it selects 15 or more

colleges it views as the best fit for the potential student and creates a personalized application

strategy/plan. As of December 2015, TPR charged $1,700 for its college admissions counseling

program.

         54.     Finally, in addition to the online and offline test preparation services offered to

individual students, students can purchase print and/or digital test preparation books. As of

August 2014, TPR owned or controlled the rights to more than 150 print and digital books.

Through third parties such as Amazon, Barnes & Noble, or Random House, a student can

purchase an SAT test preparation e-book for approximately $13.99, or a paperback book for

approximately $18.99. TPR also offers books specific to certain subjects on the SAT, as well as

books of SAT practice exams.

         C.      Unbeknownst to Investors, Non-Dating Sales Decline in the Second Half of
                 2015

                 1.     Match Group Transitions TPR’s Focus from Large Institutional
                        Contracts and Long-Term Revenue Growth to Direct-to-Student
                        Sales and Margin Expansion

         55.     Historically, TPR primarily offered its test preparation and college admissions

services to students through large, institutional contracts. For example, as part of its College



340811.1 MATCH                                   10
Case 3:16-cv-00549-S         Document 45       Filed 09/09/16     Page 12 of 44      PageID 529



Readiness Program, TPR contracted with school districts to provide in-person training to

teachers, who then provided in-classroom preparation and tutoring services to students for AP

testing and standardized college entrance exams.

        56.      Following the acquisition of TPR in 2014 and prior to the November 2015 IPO,

Match Group began to transition the focus of TPR from large multiyear contracts with

institutional clients (i.e., low volume, high price) to pay-as-you go packages and online sales to

individual students (i.e., high volume, low price).

        57.      Former TPR employees confirm this shifting focus. CW1, for example, reported

that certain of TPR’s institutional contracts with school districts in Texas were worth $1 million

or more per year. According to CW1, in El Paso, Texas alone, approximately three school

districts had $3 to $4 million of contracts with TPR in 2014. As reported by CW1, school district

contracts were typically paid each October.

        58.      After the acquisition of TPR by Match Group in 2014, CW1 reported that the

focus on multiyear contracts and long-term revenue began to change. For example, according to

CW1, the CEO of TPR during the relevant time period, Mandy Ginsberg, disliked TPR’s

reliance on multiyear contracts with school districts because there was a risk of losing them and

it would be difficult to make up for the loss of a million dollar contract. According to CW1,

Ginsberg indicated that it was better for TPR to focus on individuals, i.e., students “who are

always coming in and out of the door.”

        59.      For example, according to CW1, at least as early as July 2015, Ginsberg told an

account manager working under CW1’s direction that the Company was no longer interested in

securing multiyear contracts with school districts, and that the Company wanted the sales team

focused on sales to individual students instead.




340811.1 MATCH                                     11
Case 3:16-cv-00549-S         Document 45        Filed 09/09/16      Page 13 of 44       PageID 530



        60.      Moreover, according to CW1, by July 2015, TPR had laid off much of its sales

staff who had worked on TPR’s core College Readiness Program, as well as nearly all of its

employees in key leadership positions (including TPR’s VP of Institutional Sales, Joe Guerra),

and replacing TPR management and executive positions with individuals from Tutor.com. CW1

reported that the only high-ranking TPR employee who CW1 recalls remained after these

management changes was TPR’s SVP of Human Resources, Michelle Bergland.

        61.      In addition to shifting its focus from institutional clients to individual students,

TPR also shifted its focus from in-person training and in-classroom test-prep to online courses

and webinars. In line with this shifting focus away from large institutional contracts, CW1

reported that the Company began restricting CW1’s ability to travel and market TPR’s College

Readiness Program. Rather than in-person training sessions at public high schools, for example,

CW1 was instructed to conduct webinars. CW1 reported that after Match Group acquired TPR,

the Company moved these in-person training sessions to online webinars as part of their goal to

“put as much as possible online.”

        62.      CW1 received directions to curtail travel and focus on webinars from CW1’s

supervisor, Joe Guerra, who himself received instructions from Sandi White, the General

Manager of Institutional Programs who was brought in after Match Group’s acquisition of TPR.

CW1 felt that the new leadership under Match Group was pushing TPR to become more of an

online business with online courses and online customer service. CW1 explained:

        That’s what they do – Match.com is online, all of their companies are online. In
        their minds, that is the way to do it. The Princeton Review had a very different
        clientele and very different mindset. It was a big change. We needed online
        because there are some people who wanted online. But you also can’t replace live.

        63.      CW1 was concerned that schools operate differently than the business world and

many were not technologically savvy enough to feel comfortable with webinars and that the push



340811.1 MATCH                                    12
Case 3:16-cv-00549-S         Document 45        Filed 09/09/16       Page 14 of 44      PageID 531



to an online business detracted from TPR’s previous culture as a face-to-face, in-person test-prep

business. Moreover, between 2015 and 2016, CW1 reported that TPR lost its contracts with all

three El Paso school districts, as well as a number of contracts with other school districts in

Texas. Had these contracts been renewed, they would have been due for payment in October

2015.

        64.      During the fourth quarter 2015 conference call on February 3, 2016, Defendant

Blatt confirmed that Match Group’s focus for TPR had shifted to online business:

        I think we spent all of . . . 2015 sort of integrating the technology and we turned it
        on in Q4. Over 10% of our Princeton Review test prep customers bought one of
        our other two products. That is a huge jumpstart on this process. We think that
        through the combination of moving that business online overall and creating
        these packages where a parent turns to Princeton Review for all of the things
        necessary to maximize their kids’ chances to getting into college, we think we’ve
        got a very powerful business there.

(emphasis added).

        65.      These changes were implemented to realize Match Group’s goal of emphasizing

margin growth as opposed to long-term revenue growth. In the Company’s prepared remarks for

the fourth quarter of 2015, published on February 2, 2016, Match Group explained:

        We continued to make solid improvement on EBITDA performance, however,
        and made significant strategic progress. As we’ve said before, the principal thesis
        for combining these educational businesses was that we believed we could offer
        multiple high-value products to parents desiring to maximize their children’s
        college admissions experience, and we spent most of 2015 integrating
        technologies and refining our product offering to be able to do that. Launching in
        earnest in Q4 2015, we were able to sell either tutoring or college admissions
        services to over 10% of our customers who also purchased one of our core test
        prep products, up from virtually zero previously. Successfully implementing this
        cross-sell would transform the economics of this business, and we think we are
        off to a great start, with much work yet to come. Also, Q4 2015 was the first
        quarter where we drove the majority of our services revenue online, and we
        expect that trend to continue, which over time should lead to margin expansion
        in the business. The Princeton Review should show continued strong progress in
        2016, flipping from investment mode to bottom line contributor.

(emphasis added).


340811.1 MATCH                                   13
Case 3:16-cv-00549-S         Document 45        Filed 09/09/16      Page 15 of 44      PageID 532



        66.      During the fourth quarter 2015 earnings call held on February 3, 2016, Defendant

Blatt further explained:

        I think our strategy in [The Princeton Review] business is not a sort of near-term
        revenue-growth strategy, although we are expecting to grow revenue. We got a
        business that was $100 million plus and losing money and our play here is to
        really transform that business. And that transformation will lead to much higher
        margin characteristics and frankly, although this isn’t our plan, I would take an
        $80 million revenue business that makes $25 million EBITDA over the other way
        around. We've been focused very much on margin improvements.

(emphasis added).

        67.      During the earnings call held on February 3, 2016, Defendant Blatt also stated:

        I think this year we are forecasting revenue growth. I think we're much less
        focused on revenue growth this year than we are on these margin improvements
        and these – driving these other metrics. We’re still trying to sort out what revenue
        we want and what revenue we don’t want in this business and that will continue to
        evolve. Meaning we are not chasing all revenue because there’s higher-margin
        revenue and lower-margin revenue and we’re still trying to figure out where to
        put our cards here.

(emphasis added).

        68.      Defendants reiterated these goals of transforming TPR’s business during the first

and second quarter of 2016. During the first quarter 2016 earnings call held on May 4, 2016, for

example, Defendant Blatt stated, “We are in transformation mode. What we are really focused on

here is are we migrating this business online? Are we generating real cross-sell?”

        69.      Also, during the second quarter 2016 earnings call held on July 27, 2016,

Defendant Swidler explained, “In terms of the non-dating [business], as we said we manage this

business really for progress on its stated strategy and for positive EBITDA. We’re less focused

on the revenue growth.” (emphasis added).




340811.1 MATCH                                   14
Case 3:16-cv-00549-S         Document 45       Filed 09/09/16       Page 16 of 44       PageID 533



                 2.     Changes to the SAT and the Announcement of Free SAT Test Prep
                        Services Further Dampen TPR’s Test Prep Sales

        70.      The SAT is a standardized test that is widely used for college admissions in the

United States. The College Board – a private non-profit organization that owns and publishes the

SAT – reported that a record 1.7 million students from the graduating class of 2015 took the

SAT. In comparison, the ACT exam was slightly more popular, with approximately 1.92 million

students from the graduating class of 2015 taking it. TPR offers test preparation services and

materials for both the SAT and ACT.

        71.      On March 5, 2014, the College Board announced its intention to “expand access

to opportunity” and “redesign the SAT.” Major changes included: (i) testing relevant words in

context, rather than obscure vocabulary; (ii) testing students’ ability to support reading and

writing answers with evidence; (iii) testing students’ ability to analyze an evidentiary source; (iv)

testing students’ ability to analyze data and texts in a real world context; (v) reducing the number

of math sections to focus on certain key areas; (vi) incorporating a wide range of source

documents into the reading comprehension section; (vii) including a “Founding Document” or

“Great Global Conversation” document in every exam; and (viii) scoring based upon correct

answers, rather than deducting points for incorrect answers. The latter change was likely

particularly appealing to students given the onerous 0.25 point penalty for incorrect answers on

the old SAT exam. Such a penalty had the effect of dissuading nervous students from guessing

answers – thus, this change in particular was seen as a benefit which would attract a higher

number of students to the new SAT test. The new SAT was administered for the first time in

March 2016.

        72.      In addition to the above changes, as part of its initiative to “expand access to

opportunity,” also on March 5, 2014, the College Board announced that it would “directly



340811.1 MATCH                                   15
Case 3:16-cv-00549-S         Document 45      Filed 09/09/16      Page 17 of 44     PageID 534



confront[] one of the greatest inequities around college entrance exams, namely the culture and

practice of high-priced test preparation,” by partnering with the Khan Academy to “provide the

world with free test preparation materials for the redesigned SAT.” These free test preparation

materials included practice preliminary SAT (“PSAT”) exams, practice SAT exams, SAT math

practice, SAT reading and writing practice, SAT tips and strategies, video lessons, diagnostic

quizzes, instant feedback, and other online examples and tutorials.

        73.      According to the College Board, the free test preparation materials provided by

Khan Academy became available to students beginning with the 2015/2016 school year. The

Khan Academy SAT study materials went live in June 2015, in time for students to use them in

preparation for the SAT exam administered on October 3, 2015.

        74.      The Khan Academy materials have been an enormous success, with the College

Board reporting in June 2016 that within one year of the free Khan Academy materials being

offered, more than 1.4 million users had taken advantage of the free, interactive, and

personalized materials, which represents “four times the total population of students who use all

commercial test prep classes in a year combined.” Indeed, the College Board reported that

“[a]lmost half of all SAT takers on March 5, [2016] used [Khan Academy] SAT Practice to

prepare, causing a 19 percent drop in the number of students who paid for SAT prep resources.”

        75.      Further, the resources that Khan Academy offers to students continue to grow,

with the College Board announcing that in the second year of the Khan Academy there would be

new features, such as additional practice tests, an opportunity to get help from subject-matter

experts, live instruction sessions on Facebook Live, and new partnerships to help more students

prepare for the SAT.




340811.1 MATCH                                  16
Case 3:16-cv-00549-S         Document 45       Filed 09/09/16      Page 18 of 44      PageID 535



        76.      In addition to the fact that the Khan Academy’s test prep materials were offered

free of charge to students, its prep courses also were created in partnership with the College

Board. By sharp contrast, TPR independently developed its review materials based on its

analysis of the tests. CW2 reported that throughout 2015 and into early 2016, TPR and other test

preparation companies did not receive samples of the new SAT exam from The College Board.

In fact, CW2 reported that TPR did not receive detailed information regarding the new SAT until

close to March 2016 when the revised SAT was administered. According to CW2, TPR could

not effectively prepare students for the new SAT because TPR did not know enough about what

was on it prior to March 2016. According to CW2, the College Board failure to distribute sample

tests to TPR and other test prep companies aligned with historical practices. Accordingly, TPR

was aware that it would not receive a sample of the new SAT until just weeks prior to the March

2016 administration.

        77.      Due to TPR’s relative ignorance regarding the new SAT, CW2 reported that,

during 2015, TPR was unable to offer test preparation courses that were designed for the new

SAT. Instead, CW2 estimated that of the ten SAT test prep courses offered by TPR in the fall of

2015, perhaps one was for students preparing for the new SAT. Yet, even this course provided

only minimal information about the new SAT, and otherwise provided generalized test

preparation strategies and samples of the old SAT. According to CW2, who was responsible for

scheduling TPR’s test preparation courses, CW2 did not schedule any full test-prep courses for

the new SAT until May 2016.

                 3.     Defendants Publicly Plan For Increasing Non-Dating Sales While
                        Privately Acknowledging That They Were Decreasing

        78.      Despite the above-described changes to TPR’s focus (i.e., the shift away from

lucrative yet long-term institutional sales), the changes to the SAT, which inhibited TPR’s ability



340811.1 MATCH                                  17
Case 3:16-cv-00549-S         Document 45       Filed 09/09/16      Page 19 of 44      PageID 536



to provide prep services in the fourth quarter of 2015, and the introduction of free test prep

materials offered by the Khan Academy – all facts likely to depress TPR’s SAT prep sales in the

latter part of 2015 – Match Group publicly claimed to expect an increase in TPR’s SAT prep

sales and overall revenue in the second half of 2015 (i.e., during the time of the IPO). For

example, when it was revealed on February 3, 2016 that the Company had missed revenue

targets due to disappointing non-dating business performance, Defendant Blatt attempted to

explain the failure as follows:

        [T]here was a big change in the SAT this year. It happens every 10 years or so.
        We made a prediction about how test takers would – we thought some would
        rush to take the old test, more of them sort of paused to take the new test than
        we expected. Cost us revenue, doesn’t really cost us on the bottom line.

        79.      Match Group’s assumption regarding an increase in sales despite the risks posed

by the changes to the SAT and the Khan Academy was false given that the Company knew, prior

to its November 19, 2015 IPO, that sales were decreasing. According to CW2, Ginsberg and

other TPR senior executives held a mandatory companywide meeting via video conference in

November 2015, prior to the IPO. CW2 recalls that the meeting was held prior to the IPO

because Ginsberg announced during the meeting that employees would be able to purchase

Match Group stock in the IPO at a discounted price.

        80.      At this meeting, Ginsberg discussed the fact that TPR was not on track to hit its

projected sales numbers, and announced cuts in spending in response. CW2 also confirmed that,

by November 2015, it was clear to the Massachusetts field office – which is the second largest

producing office at TPR – that contrary to the Company’s projections, students were not rushing

to take the old SAT. In fact, CW2 reported that the Massachusetts field office saw “a significant

drop in sales” in the last quarter of 2015 and was at least $2 million off of their projected sales




340811.1 MATCH                                  18
Case 3:16-cv-00549-S         Document 45       Filed 09/09/16       Page 20 of 44    PageID 537



figures in the fourth quarter of 2015. Given comments in the Company’s salesforce.com forum,

CW2 believed that this trend was common at TPR offices throughout the country.

        81.      The introduction of free SAT prep materials offered by the Khan Academy and

the changes to the SAT presented significant risks to Match Group’s non-dating business, which

had struggled to turn a profit. Yet, Match Group failed to warn investors of these risks anywhere

in the Offering Materials. Indeed, as discussed further at ¶¶ 90-92, infra, the Offering Materials

are virtually silent on risks faced by the Company’s Non-Dating business segment.

        D.       Fourth Quarter 2015 Also Sees a Large Government Contract Delayed

        82.      Further complicating Match Group’s success story for TPR, and an additional

material omission from the Offering Materials, was the delayed execution of a large institutional

tutoring contract with the U.S. Government in the fourth quarter of 2015.

        83.      As later admitted by Defendant Blatt during a February 3, 2016 conference call

discussing the Company’s 2015 fourth quarter financial performance, in additional to declining

SAT test prep sales: “We were signing a contract with the US government and it signed 2-1/2

months later than we thought. That cost us a couple million dollars of revenue, just moved it

back, and at the time we expected to get it done earlier and it didn’t.”

        84.      On the evening before the February 3, 2016 conference call, Match Group

published prepared remarks which similarly explained that non-dating revenue fell short of

expectations due, in part, to “the execution of an institutional contract later in Q4 than

expected.” (emphasis added).

        85.      Since the contract was executed two and a half months later than expected, but

still signed “later in Q4 [2015] than expected,” it is not possible for Defendants to disclaim

knowledge of the delayed contract at the time of the November 18, 2015 IPO.




340811.1 MATCH                                   19
Case 3:16-cv-00549-S        Document 45       Filed 09/09/16      Page 21 of 44      PageID 538



        E.       Match Group’s November 2015 IPO

        86.      On October 16, 2015, Match Group filed a Registration Statement with the SEC

on Form S-1 for an offering of up to $100 million in common stock. On November 2, 2015, the

Company filed an Amended Form S-1 Registration Statement with the SEC on Form S-1/A, also

for an offering of up to $100 million in common stock.

        87.      On November 9, 2015, the Company filed an Amended Form S-1 Registration

Statement with the SEC on Form S-1/A, and on November 16, 2015, the Company filed another

Amended Form S-1 Registration Statement with the SEC on Form S-1/A, both with proposed

offerings of 38,333,333 shares of common stock for a proposed maximum aggregate offering

price of approximately $537 million, or $14.00 per share. Finally, on November 18, 2015, the

Company filed an Amended Form S-1 Registration Statement with the SEC on Form S-1/A, with

an offering of 38,333,333 shares1 of common stock for a proposed aggregate maximum offering

price of approximately $537 million, or a maximum price of $14.00 per share. The Registration

Statement dated November 18, 2015 was declared effective after the market close on November

18, 2015.2

        88.      On November 19, 2015, the IPO was priced at $12.00 per share. Together with

the Prospectus filed with the SEC on Form 424B4 on November 20, 2015, the Registration

Statement offered for sale 33,333,333 shares of Match Group Class A common stock to the

public (and an additional 5,000,000 shares of Class A common stock to the underwriters) at

1
   Match Group offered 33,333,333 shares of Class A common stock to the public, with an
additional 5 million shares of Class A common stock offered to the underwriters should they
exercise their option to purchase additional shares. The underwriters exercised this option, and a
total of 38,333,333 shares of Class A common stock were offered.
2
    As used herein, the term “Registration Statement” refers to, collectively, the registration
statement that was filed by the Company with the SEC on Form S-1 on October 16, 2015, all
amendments thereto, and the Prospectus, which was incorporated into and formed a part of the
Registration Statement that became effective on November 18, 2015.


340811.1 MATCH                                 20
Case 3:16-cv-00549-S        Document 45        Filed 09/09/16      Page 22 of 44       PageID 539



$12.00 per share. Shares began trading on November 19, 2015, on the NASDAQ under the

symbol “MTCH.”

        89.      On November 24, 2014, the Company announced that Match Group had closed its

IPO of 38,333,333 shares of common stock at $12.00 per share, which included 5,000,000 shares

of Class A common stock that were sold pursuant to the underwriters’ option to purchase. Upon

the completion of the offering, IAC held 209,919,402 shares of Class B3 common stock, which

represented 84.6% of all outstanding Match Group shares and 98.2% of the combined voting

power. IAC also retained representation on Match Group’s Board of Directors (the “Board”),

such that three of the eight Match Group Board positions were held by current IAC employees,

including Levin (CEO of IAC), Winiarski (Executive Vice President, Secretary, and General

Counsel of IAC), and Mark Stein (Senior Vice President and Chief Strategy Officer of IAC).

                 1.    Match Group’s IPO Risk Disclosures Related Only to its Dating
                       Business

        90.      In contrast to the numerous risk disclosures in Match Group’s Registration

Statement relating to its dating business (see, e.g., Registration Statement, pp. 16-20, discussing

risks relating to the Company’s “dating brands and products,” the “dating industry,” “dating

product monetiz[ation],” “[a]ttracting and retaining users for our dating products,” electronic

communications with users “in the era of smart phones and messaging/social networking apps,”

“[d]istribution and use of our dating products,” “distribution of our dating products through app

stores,” technological overhauls in a number of platforms, “including Match, OurTime and

Meetic,”) there are no risk disclosures that relate directly to the Company’s non-dating business.

Indeed, apart from general risks faced by any company providing online services, such as

reliance on third party technology, cyber-attacks, security breaches, and identity theft (Id. at 20-
3
  Match Group Class A common stock has 1:1 voting power, while Class B common stock has
10:1 voting power.


340811.1 MATCH                                  21
Case 3:16-cv-00549-S          Document 45      Filed 09/09/16       Page 23 of 44       PageID 540



22), only the following generalized risk disclosures could conceivably relate to risks associated

with the Company’s non-dating business:

        Our quarterly results and operating metrics have fluctuated historically and we
        expect that they could continue to fluctuate in the future as a result of a number of
        factors, many of which are outside of our control and may be difficult to
        predict . . . .

                                          *      *       *

        In addition, the variability and unpredictability of our quarterly results or
        operating metrics could result in our failure to meet expectations, or those of any
        of our investors or of analysts that cover our company, with respect to revenues or
        other operating results for a particular period. If we fail to meet or exceed such
        expectations for these or any other reasons, the market price of our common stock
        could fall substantially.

        91.      Even if the foregoing risk disclosures did relate to Match Group’s non-dating

business, i.e. TPR, it is not sufficiently particularized or meaningful to inform investors of the

risks and trends that the Company’s non-dating business was facing. Specifically, such

generalized risk disclosures failed to inform investors of the risks posed by changes to the SAT,

free test preparation materials provided by the Khan Academy, and/or the Company’s delayed

government contract.

        92.      Similarly, while the Registration Statement contains an entire section devoted to,

“Trends Affecting Our Dating Business,” (Registration Statement, pp. 63-66) there is no parallel

section devoted to trends affecting the Company’s non-dating business. As discussed in more

detail in the sections to follow, in violation of Items 303 and 503, there is little to no discussion

of trends in the Company’s non-dating business in the Registration Statement at all.

                 2.      Defendants Boast TPR’s Success In Advance of the IPO

        93.      Match Group reported in its Registration Statement that TPR had obtained

profitability for the first time:




340811.1 MATCH                                   22
Case 3:16-cv-00549-S         Document 45       Filed 09/09/16      Page 24 of 44      PageID 541



        Adjusted EBITDA is generally increasing sequentially and on a year on year
        basis, but is impacted by the aforementioned selling and marketing trends, which
        drive lower or sometimes negative, year on year Adjusted EBTIDA growth in the
        first quarter of the fiscal year. Increased investment in Non-dating driven by the
        acquisition of The Princeton Review also negatively impacted Adjusted EBITDA
        beginning with the three months ended September 30, 2014 through the second
        quarter of 2015. Non-dating reported positive Adjusted EBITDA for the first
        time in the third quarter of 2015, which is its seasonally strongest quarter.

(emphasis added).

        94.      Match Group reiterated this positive outlook on TPR by stating in its Registration

Statement, “The increase in deferred revenue is primarily due to growth in membership fees in

the Dating business, a seasonal increase in class enrollment in the Non-dating business and

acquisitions.” (emphasis added).

        95.      Contrary to the above positive statements: (1) Defendants failed to disclose that

an institutional contract would be executed more than two months late and that the changes to the

SAT and introduction of the Khan Academy would decrease, not increase, TPR’s sales; and (2)

without a risk disclosure or statement of known trends to the contrary, investors were led to

believe that TPR had turned a corner and was experiencing profitability for the first time.

        F.       Match Group Misses Revenue Forecast for the 2015 Fourth Quarter Due to
                 Underperformance by TPR

        96.      For the fourth quarter of 2015, Match Group reported total revenue of $268

million, which fell short of the consensus estimate of $277 million. Also for the fourth quarter of

2015, Match Group reported: (a) non-dating revenue of $26.1 million, which was below the

Street’s estimate of $31.2 million; and (b) dating revenue of $241.5 million, which was in line

with the consensus estimate of $241.4 million.

        97.      In the Company’s prepared remarks, published on the evening of February 2,

2016, immediately before the fourth quarter 2015 conference call, Match Group disclosed, for

the first time: “Non-Dating fell short of expectations on revenue in Q4 due primarily to a


340811.1 MATCH                                   23
Case 3:16-cv-00549-S         Document 45       Filed 09/09/16       Page 25 of 44       PageID 542



greater than anticipated slowdown in SAT prep due to the launch of a new SAT and the

execution of an institutional contract later in Q4 than expected.” (emphasis added).

        98.      During the 2015 fourth quarter conference call held on February 3, 2016,

Defendant Blatt responded to an analyst’s question and further disclosed:

        Nat Schindler, Bank of America Merrill Lynch: [C]an you go into a little more
        detail on the non-dating businesses? Specifically, what caused the falloff from
        your expectations . . . ?

        Defendant Blatt: . . . Two things, there are two very discreet things that
        happened this quarter, which is one, we are signing a contract with the U.S.
        government and it signed 2 ½ months later than we thought. That cost us a
        couple million dollars of revenue, just moved it back and at the time we
        expected to get it done earlier and it didn’t.

        The other was, there was a big change in the SAT this year. It happens every 10
        years or so. We made a prediction about how test takers would – we thought some
        would rush to take the old test, more of them sort of paused to take the new test
        than we expected. Cost us revenue, doesn’t really cost us on the bottom line.

(emphasis added).

        99.      Following the Company’s disclosures after-hours on February 2, 2016 and during

the earnings call on February 3, 2016, numerous analysts reported that Match Group’s overall

revenue fell short of expectations due to the fact that the non-dating business had fallen short of

forecasts for the 2015 fourth quarter. By and large, analysts agreed that the financial results of

the Company’s non-dating business segment were disappointing and drove the overall revenue

miss.

        100.     For example, on February 3, 2016, J.P. Morgan reported that Match Group’s 2015

fourth quarter revenue fell short of expectations ($268 million versus $276 million), with the

“shortfall mostly coming from the Non-Dating business.” Indeed, Match Group’s non-dating

business reported 2015 fourth quarter revenue of $26.1 million – below J.P. Morgan’s estimate

of $30.4 million. J.P. Morgan explained that this shortfall was the result of : (1) “the release of a



340811.1 MATCH                                   24
Case 3:16-cv-00549-S         Document 45         Filed 09/09/16       Page 26 of 44     PageID 543



new version of the SAT[,] [which] impacted demand for prep services;” and (2) “a delay in the

timing of a sizeable contract[,] [which] weighed on revenue relative to expectations.”

        101.     Similarly, on February 3, 2016, UBS reported that while they were positive on

Match Group’s dating business, they were “less positive” on Match Group’s non-dating business,

which had revenue “below expectations [for the 2015 fourth quarter] driven by lower demand for

test prep (after SAT change) & contract delay.” In fact, UBS reported that Match Group’s

overall revenue of $268 million missed the consensus estimate of $277 million, and that this poor

“[r]esult [was] driven mainly by lower than expected growth in Non-Dating revenue.”

Additionally, UBS observed that the 2% year-over-year decline in non-dating revenue was

caused, at least in part, by a “delay in an institutional tutoring contract.”

        102.     Also on February 3, 2016, BMO Capital Markets reported that Match Group’s

non-dating revenue fell short of the Street’s estimate ($26.1 million versus $31.2 million) and

that this shortfall was an “unexpected hiccup caused in part by changes to the SAT.”

        103.     Further, on February 4, 2016, Susquehanna Financial Group, LLP reported that

Match Group’s “total revenue . . . missed us and consensus by ~16% due to a slowdown in SAT

prep and a delay in signing a large client[.]”

        104.     Similarly, on February 4, 2016, Barclays reported that the Company’s “top-line

miss was due to a shortfall in the non-Dating segment.” (emphasis added).

        105.     In sum, in the first quarterly results announced after the completion of the IPO,

Match Group missed overall revenue estimates due to a shortfall in its non-dating business. This

shortfall was the result of the materialization of risks that Defendants failed to disclose regarding

TPR, including risks surrounding changes to the SAT test and the proliferation of free SAT test

preparation materials by the College Board and the Khan Academy, as well as the delayed




340811.1 MATCH                                    25
Case 3:16-cv-00549-S          Document 45       Filed 09/09/16       Page 27 of 44       PageID 544



execution of a multi-million dollar institutional contract in the very quarter that the IPO took

place.

         106.    Following Match Group’s February 3, 2016 announcement of the revenue miss

and the underperformance of its non-dating business, shares of Match Group’s stock fell from a

high of $12.82 per share on February 2, 2016, to close at $10.66 per share on February 3, 2016.

The stock price continued to fall over the ensuing days as the market absorbed the news,

ultimately closing at $9.30 per share on February 5, 2016.

V.       DISCLOSURE OBLIGATIONS UNDER THE SECURITIES ACT OF 1933

         107.    The purpose of the Securities Act is “to provide investors with full disclosure of

material information concerning public offerings of securities in commerce, to protect investors

against fraud, and, through the imposition of specified civil liabilities, to promote ethical

standards of honesty and fair dealing.” Fed. Hous. Fin. Agency v. Nomura Holding Am., Inc.,

104 F. Supp. 3d 441, 553 (S.D.N.Y. 2015) (The Securities Act “was a slate of unprecedented

measures designed ‘to place adequate and true information before the investor.’”) (citing Randall

v. Loftsgaarden, 478 U.S. 647, 659 (1986)); see also Pinter v. Dahl, 486 U.S. 622, 638 (1988).

         108.    To effectuate this purpose, a Company’s registration statement must provide a full

disclosure of material information. See Herman & MacLean v. Huddleston, 459 U.S. 375, 381

(1983). Failure to do so gives rise to private rights of action under the Securities Act. See Fed.

Hous., 104 F. Supp. at 553-54. “The private rights of action in the Securities Act were designed

to assure compliance with [its] disclosure provisions . . . by imposing a stringent standard of

liability on the parties who play a direct role in a registered offering.” Id. (quotation omitted).

         A.      Section 11

         109.    Section 11 prohibits materially misleading statements or omissions in registration

statements filed with the SEC. See 15 U.S.C. § 77k. Accordingly, Section 11 gives rise to


340811.1 MATCH                                   26
Case 3:16-cv-00549-S          Document 45      Filed 09/09/16       Page 28 of 44       PageID 545



liability if “any part of [a Company’s] registration statement, when such part became effective,

contained an untrue statement of a material fact or omitted to state a material fact required to be

stated therein or necessary to make the statements therein not misleading.” 15 U.S.C. § 77k(a).

Section 11 provides for a cause of action by the purchaser of a registered security against certain

statutorily enumerated parties, including:      (1) “every person who signed the registration

statement;” (2) “every person who was a director . . . at the time of the filing of . . . the

registration statement;” (3) “every person who, with his consent, is named in the registration as

being or about to become a director;” (4) “any person . . . who has with his consent been named

as having prepared or certified any part of the registration statement;” and (5) “every underwriter

with respect to such security.” 15 U.S.C. § 77k(a)(1-5).

        B.       Section 12

        110.     Section 12 prohibits materially misleading statements or omissions in

prospectuses or oral communications. See 15 U.S.C. § 77l(a)(2). Section 12 provides for a cause

of action by the purchaser of a registered security against a “statutory seller.” Id. An individual

is a “statutory seller” if he (1) “passed title, or other interest in the security, to the buyer for

value[,]” or (2)“successfully solicit[ed] the purchase [of a security], motivated at least in part by

a desire to serve his own financial interests or those of the securities owner.” Pinter, 486 U.S. at

642, 647.

        C.       Regulation S-K

                 1.     Item 303 Requirements

        111.     Item 303 requires the disclosure of known trends that will affect future revenue,

specifically: “known trends . . . that have had or that the registrant reasonably expects will have

a material . . . unfavorable impact on . . . revenues.” 17 CFR § 229.303(a)(3)(ii).




340811.1 MATCH                                   27
Case 3:16-cv-00549-S         Document 45       Filed 09/09/16       Page 29 of 44       PageID 546



        112.     Accordingly, as the SEC has repeatedly emphasized, the “specific provisions in

Item 303 [as set forth above] require disclosure of forward-looking information.” See Mgmt’s

Discussion and Analysis of Fin. Condition and Results of Operation, S.E.C. Release No. 6835,

1989 WL 1092885, at *3 (May 18, 1989). Indeed, the SEC has stated that disclosure

requirements under Item 303 are “intended to give the investor an opportunity to look at the

company through the eyes of management by providing both a short and long-term analysis of

the business of the company” and “a historical and prospective analysis of the registrant’s

financial condition . . . with particular emphasis on the registrant’s prospects for the future.” Id.

at *3, *17. Thus, “material forward-looking information regarding known material trends and

uncertainties is required to be disclosed as part of the required discussion of those matters and

the analysis of their effects.” See Comm’n Guidance Regarding Mgmt’s Discussion and Analysis

of Fin. Condition and Results of Operations, S.E.C. Release No. 8350, 2003 WL 22996757, at

*11 (December 19, 2003).

        113.     Disclosure of known trends and forward-looking information concerning the

registrant’s revenue are required by Item 303 “where a trend, demand, commitment, event or

uncertainty is both presently known to management and reasonably likely to have material

effects on the registrant’s financial condition or results of operations.” See Mgmt’s Discussion,

S.E.C. Release No. 6835, 1989 WL 1092885, at *4.

                 2.     Item 503 Requirements

        114.     Item 503 is intended “to provide investors with a clear and concise summary of

the material risks to an investment in the issuer’s securities.” Sec. Offering Reform, S.E.C.

Release No. 8501, 2004 WL 2610458, at *86 (Nov. 3, 2004). Accordingly, Item 503 requires

that offering documents “provide under the caption ‘Risk Factors’ a discussion of the most

significant factors that make the offering speculative or risky.” 17 CFR § 229.503(c). The


340811.1 MATCH                                   28
Case 3:16-cv-00549-S         Document 45        Filed 09/09/16       Page 30 of 44       PageID 547



discussion of risk factors “must be specific to the particular company and its operations, and

should explain how the risk affects the company and/or the securities being offered. Generic or

boilerplate discussions do not tell the investors how the risks may affect their investment.”

Statement of the Comm’n Regarding Disclosure of Year 2000 Issues and Consequences by Pub.

Cos., Inv. Advisers, Inv. Cos., & Mun. Sec. Issuers, 1998 WL 425894, at *14 (July 29, 1998).

        D.       Defendants Violated Their Disclosure Obligations in the IPO Registration
                 Statement

        115.     Defendants violated their disclosure obligations in Match Group’s IPO

Registration Statement because they failed to disclose: (a) TPR’s transition from institutional

contracts and long-term revenue growth to direct-to-student and online sales and margin

expansion; (b) the risks posed by the introduction of the new SAT; (c) the risks posed by the

College Board’s relationship with the Khan Academy, including the free test preparation

materials offered by the Khan Academy; and (d) the delayed institutional contract.

        116.     After Match Group acquired TPR in August 2014, and prior to its November 2015

IPO, Match Group began to transition the focus of TPR from large multiyear contracts with

institutional clients (i.e., low volume, high price) to online sales to individual students (i.e., high

volume, low price) as part of its push to drive short-term margin expansion at the expense of

long-term revenue growth. To effectuate this transition, TPR also shifted its focus from its

previous core offerings of in-person training and in-classroom test-prep to online courses and

webinars. Despite this fundamental and systemic shift within TPR, Defendants failed to disclose

in Match Group’s Registration Statement either the transition itself, or the risks posed by the

transition, thereby violating Section 11, Section 12, and Item 503. The failure to disclose TPR’s

transition away from long-term revenue growth also violated Item 303 given that Match Group




340811.1 MATCH                                    29
Case 3:16-cv-00549-S          Document 45       Filed 09/09/16       Page 31 of 44       PageID 548



was actively engaged in a business strategy that it reasonably expected and, in fact, intended to

have a material unfavorable impact on revenue.

        117.     Additionally, on March 5, 2014, the College Board announced its intention to

redesign the SAT and to partner with the Khan Academy to provide free SAT test preparation to

students. The Khan Academy SAT study materials went live in June 2015, in time for students to

use in preparation for the SAT exam administered in October 2015, and the new SAT was

administered for the first time in March 2016. Although both the changes to the SAT and the

introduction of free test preparation by the Khan Academy presented significant risks to Match

Group’s non-dating business, Match Group failed to disclose in its Registration Statement either

these changes, or the risks they posed, thereby violating Section 11, Section 12, and Item 503.

Additionally, Match Group failed to disclose that (i) the change in the SAT test and the free test

prep offered by Khan Academy would result in fewer students purchasing TPR’s SAT test prep

materials and (ii) TPR sales already were decreasing in the fourth quarter of 2015. Defendants

failed to disclose these known trends, thereby violating Item 303.

        118.     Finally, Match Group failed to disclose that a large, institutional contract had been

delayed at the time of the IPO. By November 18, 2015 – the effective date of the Registration

Statement – Match Group knew that the large, institutional contract would be executed late and

this known event was likely to have a material unfavorable impact on revenue. Defendants’

failure to disclose this known event was a violation of Item 303. Defendants also violated

Section 11, Section 12, and Item 503 by omitting material information about the delayed contract

and failing to disclose the risks associated with contract delays in Match Group’s non-dating

business segment.




340811.1 MATCH                                    30
Case 3:16-cv-00549-S          Document 45       Filed 09/09/16       Page 32 of 44    PageID 549



VI.     THE REGISTRATION STATEMENT CONTAINED MATERIALLY FALSE
        AND/OR MISLEADING STATEMENTS AND/OR OMITTED MATERIAL
        INFORMATION REQUIRED TO BE STATED THEREIN

        A.       Registration Statement and Prospectus

        119.     The Registration Statement issued in connection with the IPO contained

materially false and/or misleading facts, omitted to state other facts necessary to make the

statements made not misleading, and was otherwise not prepared in accordance with the

governing rules and regulations.

        120.     The Registration Statement, in relevant part, stated:

        Adjusted EBITDA is generally increasing sequentially and on a year on year
        basis, but is impacted by the aforementioned selling and marketing trends, which
        drive lower or sometimes negative, year on year Adjusted EBTIDA growth in the
        first quarter of the fiscal year. Increased investment in Non-dating driven by the
        acquisition of The Princeton Review also negatively impacted Adjusted EBITDA
        beginning with the three months ended September 30, 2014 through the second
        quarter of 2015. Non-dating reported positive Adjusted EBITDA for the first
        time in the third quarter of 2015, which is its seasonally strongest quarter.

Registration Statement (defined herein at ¶ 87 n.2, infra), p. 85 (emphasis added).

        121.     The Registration Statement reiterated this positive outlook on TPR by stating,

“The increase in deferred revenue is primarily due to growth in membership fees in the Dating

business, a seasonal increase in class enrollment in the Non-dating business and acquisitions.”

Id. at 87 (emphasis added).

        122.     Further, the Registration Statement reported that for the nine months ended

September 30, 2015, “Non-dating Adjusted EBITDA loss declined $4.8 million, or 45.8%,

primarily due to reduced losses from The Princeton Review.” Id. at 72.

        123.     The above statements were false and misleading because they failed to state

material facts necessary to make the statements, in light of the circumstances under which they

were made, not misleading, because Defendants failed to disclose that TPR’s test prep sales were



340811.1 MATCH                                    31
Case 3:16-cv-00549-S         Document 45        Filed 09/09/16      Page 33 of 44         PageID 550



decreasing and Match Group’s overall non-dating revenue was declining due to: (i) changes in

the SAT; (ii) the College Board’s partnership with Khan Academy to provide free test prep; (iii)

Match Group’s decision to shift focus from revenue growth to margin expansion, including its

related decision not to renew lucrative large contracts, to reduce sales and marketing efforts and

budgets and its decision to migrate traditional business to online; and (iv) the delayed large

institutional contract which was executed late in the fourth quarter of 2015.

        124.     Defendants also violated Regulation S-K (Items 303 and 503) because the

Registration Statement failed to disclose known trends, events, or uncertainties that were

reasonably likely to unfavorably impact net sales, revenue, or income from continuing

operations, and failed to include adequate risk disclosures relating to TPR’s declining test prep

sales and Match Group’s overall decline in non-dating revenue due to: (i) changes in the SAT;

(ii) the College Board’s partnership with Khan Academy to provide free test prep; (iii) Match

Group’s decision to shift focus from revenue growth to margin expansion, including its related

decision not to renew lucrative large contracts, to reduce sales and marketing efforts and budgets,

and to migrate traditional business to online; and (iv) the delayed large institutional contract

which was executed late in the fourth quarter of 2015.

        B.       Road Show Materials

        125.     The Road Show Materials4 issued in connection with the IPO contained

materially false and/or misleading facts, omitted to state other facts necessary to make the

statements made not misleading, and were otherwise not prepared in accordance with the

governing rules and regulations.

        126.     Defendant Blatt, in the Road Show Materials, in relevant part, stated:
4
   As used herein, the term “Road Show Materials” refers to, collectively, Defendant Blatt and
Defendant Swidler’s prepared remarks from November 2015, as well as Match Group’s
slideshow from November 2015.


340811.1 MATCH                                   32
Case 3:16-cv-00549-S          Document 45        Filed 09/09/16       Page 34 of 44       PageID 551



        [T
         The Princetoon Review] has been a minor
                                               m     drag on our P&L  L this past yyear as we
        coonsolidated our acquisiitions in thee area, and we have noo expectatioon of this
        being a businness that reqquires us to go negativee in order to grow it intoo what we
        th
         hink it can be. You sleeep on this one, but ju  ust like no oone paid atttention to
        HomeAdvisor
        H              r or Vimeo at
                                  a IAC a few w years ago, and we toldd people it w
                                                                                  would be a
        reeal value co
                     ontributor in
                                 n a few yearrs, we think The Princeeton Review   w can be a
        reeal value-creeation opportunity in a few
                                               f years frrom now forr Match Grooup.

(emphasiis added).

        127.     Defen
                     ndant Swidleer, in the Roaad Show Maaterials, in reelevant part, stated:

        Our
        O business, by its natu ure, has low w capital requ
                                                         quirements an and there’s ssignificant
        op
         perating lev
                    verage in ourr business. This
                                             T comes ffrom operatiional efficieencies that
        we
        w are in the process of achieving, plus
                                             p improviing performaance at The Princeton
        Review
        R       and well
                    w as at Tin  nder as it con
                                              ntinues on itts trajectory..

        128.     The Roadshow
                     R        Materials
                              M         furtther reiterateed the positiive performaance and ouutlook

of TPR by
       b labeling TPR
                  T   as a “b
                            big business opportunityy” and assuriing potentiaal investors tthat it

was “Nott expected to
                    o require inv
                                vestment goin
                                            ng forward””:




340811.1 MA
          ATCH                                     33
Case 3:16-cv-00549-S         Document 45       Filed 09/09/16      Page 35 of 44       PageID 552



        129.     The above statements were false and misleading because they failed to state

material facts necessary to make the statements, in light of the circumstances under which they

were made, not misleading; failed to disclose known trends or uncertainties that were reasonably

likely to unfavorably impact net sales, revenue, or income from continuing operations; and failed

to include adequate risk disclosures relating to: (i) decrease in sales due to changes in the SAT;

(ii) decrease in sales due to the College Board’s partnership with Khan Academy to provide free

test prep; and (iii) the Company’s decision to shift focus from revenue growth to margin

expansion, including its related decision not to renew lucrative large contracts, reduction in sales

and marketing efforts and budgets, and decision to migrate traditional business to online.

VII.    NO SAFE HARBOR

        130.     Defendants are liable for any false and misleading forward-looking statements

issued in connection with the IPO. The Safe Harbor provision of § 27A of the Securities Act, 15

U.S.C. § 77z-2(b)(2)(D), specifically excludes those statements “made in connection with the

initial public offering,” which includes all of the false and misleading statements made in

connection with the IPO.

VIII. CLASS ACTION ALLEGATIONS

        131.     Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons who purchased or

otherwise acquired Match Group common stock pursuant and/or traceable to the Registration

Statement issued in connection with the Company’s IPO on November 19, 2015 and who were

damaged thereby (the “Class”). Excluded from the Class are Defendants herein, members of the

immediate families of each Defendant, any person, firm, trust, corporation, officer, director, or

other individual or entity in which any Defendant has a controlling interest or which is related to




340811.1 MATCH                                  34
Case 3:16-cv-00549-S         Document 45        Filed 09/09/16      Page 36 of 44       PageID 553



or affiliated with any Defendant, and the legal representatives, agents, affiliates, heirs,

successors-in-interest or assigns of any such excluded party.

        132.     The members of the Class are so numerous that joinder of all members is

impracticable. Match Group offered 38,333,333 shares of Class A common stock and

209,919,402 shares of Class B common stock in the IPO and is actively traded on the NASDAQ.

While the exact number of Class members are unknown to Plaintiffs at this time, Plaintiffs

believe that there are thousands of members in the proposed Class. Record owners and other

members of the Class may be identified from records maintained by Match Group or its transfer

agent and may be notified of the pendency of this action by mail, using the form of notice similar

to that customarily used in securities class actions.

        133.     Plaintiffs’ claims are typical of the claims of the members of the Class, as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein. Plaintiffs have no interests antagonistic to or in conflict

with those of the Class.

        134.     Plaintiffs will fairly and adequately protect the interests of the members of the

Class and have retained counsel competent and experienced in class action and securities

litigation.

        135.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                 a)     whether Sections 11, 12(a)(2), and 15 of the Securities Act were violated

by Defendants’ acts as alleged herein;




340811.1 MATCH                                   35
Case 3:16-cv-00549-S          Document 45        Filed 09/09/16      Page 37 of 44       PageID 554



                  b)     whether statements made by Defendants to the investing public in the

Registration Statement issued by Match Group in connection with the IPO negligently omitted

and/or misrepresented material facts about the business and prospects of Match Group; and

                  c)     to what extent the members of the Class have sustained damages and the

proper measure of damages.

        136.      A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of the individual litigation make it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

IX.     CLAIMS FOR RELIEF

        A.        COUNT I: For Violations of Section 11 of the Securities Act (Against All
                  Defendants)

        137.      Plaintiffs repeat and reallege each and every allegation contained above. This

Count is predicated upon Defendants’ strict liability for making false and materially misleading

statements in the Registration Statement.

        138.      This Count does not sound in fraud. Any preceding allegations of fraud,

fraudulent conduct, or improper motive are specifically excluded from this Count. Plaintiffs do

not allege for this Count that Defendants had scienter or fraudulent intent, which are not

elements of this claim.

        139.      This Count is brought pursuant to Section 11 of the Securities Act, 15 U.S.C.§

77k, on behalf of the Class, against all Defendants.

        140.      As discussed herein, the Registration Statement for the IPO was inaccurate and



340811.1 MATCH                                     36
Case 3:16-cv-00549-S          Document 45        Filed 09/09/16      Page 38 of 44      PageID 555



misleading, contained untrue statements of material facts, omitted to state other facts necessary

to make the statements not misleading, and omitted to state material facts required to be stated

therein.

        141.      Match Group is the registrant for the IPO. The Individual Defendants are

responsible for the contents of the Registration Statement based upon their status as directors of

the Company or because they signed or authorized the signing of the Registration Statement on

their behalf pursuant to Section 11(a)(1-3) of the Securities Act. The Underwriter Defendants are

responsible for the contents of the Registration Statement pursuant to Section 11(a)(5) of the

Securities Act.

        142.      As issuer of the shares, Match Group is strictly liable to Plaintiffs and the Class

for any misstatements and omissions. The Individual Defendants named herein made a

reasonable investigation or possessed reasonable grounds for the belief that the statements

contained in the Registration Statement were true and without omissions of any material facts

and were not misleading.

        143.      By reason of the conduct alleged herein, each Defendant violated, and/or

controlled a person who violated, Section 11 of the Securities Act.

        144.      Plaintiffs acquired Match Group common stock pursuant and/or traceable to the

Registration Statement for the IPO.

        145.      Plaintiffs and the Class have sustained damages. The value of Match Group’s

common stock has declined substantially subsequent to and due to Defendants’ violations.

        146.      At the time of their purchases of Match Group securities, Plaintiffs and the Class

were without knowledge of the facts concerning the wrongful conduct alleged herein and could

not have reasonably discovered those facts. Less than one year has elapsed from the time that




340811.1 MATCH                                    37
Case 3:16-cv-00549-S         Document 45        Filed 09/09/16      Page 39 of 44      PageID 556



Plaintiffs discovered or reasonably could have discovered the facts upon which this complaint is

based to the time that Plaintiffs filed this complaint. Less than three years has elapsed between

the time that the securities upon which this Count is brought were offered to the public and the

time Plaintiffs filed this complaint.

        B.       COUNT II: For Violations of Section 12(a)(2) of the Securities Act (Against
                 All Defendants)

        147.     Plaintiffs repeat and reallege each and every allegation contained above.

        148.     This Count does not sound in fraud. Any proceeding allegations of fraud,

fraudulent conduct, or improper motive are specifically excluded from this Count. Plaintiffs do

not allege that Defendants had scienter or fraudulent intent, which are not elements of this claim.

        149.     This Count is brought by Plaintiffs, pursuant to Section 12 of the Securities Act

on behalf of the Class who purchased or acquired registered Match Group securities pursuant to

the Prospectus and offering documents and any other oral or written communications used to

solicit the IPO, including free writing prospectuses and road shows, and who were damaged by

the acts alleged herein.

        150.     Defendants offered, sold, and/or solicited a security, namely shares of Match

Group’s common stock, by means of the IPO identified above and sold, or solicited the sale of,

Match Group’s shares for their own financial benefit. The Registration Statement and Road

Show Materials contained untrue and/or misleading statements of material facts that the

Defendants in the exercise of reasonable care should have known were false.

        151.     Defendants actively solicited the sale of Match Group’s shares to serve their own

financial interests.

        152.     At the time of purchase of Match Group’s shares, Plaintiffs and the Class did not

know that the representations made to them by Match Group in connection with the distribution



340811.1 MATCH                                   38
Case 3:16-cv-00549-S         Document 45        Filed 09/09/16        Page 40 of 44    PageID 557



of shares and the matters described above were untrue and did not know the above described

omitted material facts were not disclosed.

        153.     As a result, Plaintiffs and the Class are entitled to the tender of Match Group

shares they purchased and received from Match Group for the consideration paid for those shares

with interest thereon, less the amount of any income received thereon, or damages resulting from

Defendants’ conduct.

        154.     By reason of the foregoing, Defendants are liable to Plaintiffs and the members of

the Class for violations of Section 12(a)(2) of the Securities Act.

        C.       COUNT III: For Violations of Section 15 of the Securities Act (Against the
                 Individual Defendants)

        155.     Plaintiffs repeat and reallege each and every allegation contained above.

        156.     This Count does not sound in fraud. Any proceeding allegations of fraud,

fraudulent conduct, or improper motive are specifically excluded from this Count. Plaintiffs do

not allege for this Count that Defendants had scienter or fraudulent intent, which are not

elements of this claim.

        157.     This Count is brought pursuant to Section 15 of the Securities Act against the

Individual Defendants.

        158.     Each of the Individual Defendants acted as controlling persons of Match Group

within the meaning of Section 15 of the Securities Act by virtue of his position as a director

and/or senior officer of Match Group. By reason of their senior management positions and/or

directorships at the Company, as alleged above, the Individual Defendants, individually and

acting pursuant to a common plan, had the power to influence and exercised the same to cause

Match Group to engage in the conduct complained of herein. Further, the Individual Defendants’

positions made them privy to and provided them with actual knowledge of the material facts



340811.1 MATCH                                   39
Case 3:16-cv-00549-S         Document 45        Filed 09/09/16      Page 41 of 44      PageID 558



concealed from Plaintiffs and the Class. By reason of such conduct, the Individual Defendants

are liable pursuant to Section 15 of the Securities Act.

        159.     Each of the Individual Defendants was a culpable participant in the violations of

Section 11 of the Securities Act alleged in Count I above, based on their having signed the IPO

Registration Statement and having otherwise participated in the process which allowed the IPO

to be successfully completed.

        160.     By virtue of the conduct alleged herein, the Individual Defendants are liable for

the aforesaid wrongful conduct and are liable to Plaintiffs and the Class for damages suffered.

X.      PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

        A.       Determining that the instant action may be maintained as a class action under

Rule 23 of the Federal Rules of Civil Procedure;

        B.       Awarding compensatory damages in favor of Plaintiffs and the other Class

members against all Defendants, jointly and severally, for all damages sustained as a result of

Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

        C.       Awarding Plaintiffs the costs and expenses of this litigation, including reasonable

attorneys’ fees, accountants’ fees, experts’ fees, and other costs and disbursements; and

        D.       Awarding such equitable, injunctive, or other relief as this Court may deem just

and proper.

XI.     JURY TRIAL DEMAND

        Plaintiffs hereby demand a trial by jury.




340811.1 MATCH                                      40
Case 3:16-cv-00549-S   Document 45   Filed 09/09/16      Page 42 of 44      PageID 559



DATED: September 9, 2016         GLANCY PRONGAY & MURRAY LLP

                                 By: /s/ Kara M. Wolke
                                 Robert V. Prongay
                                 Kara M. Wolke
                                 Alexa J. Mullarky
                                 1925 Century Park East, Suite 2100
                                 Los Angeles, CA 90067
                                 Telephone: (310) 201-9150
                                 Facsimile: (310) 201-9160
                                 kwolke@glancylaw.com

                                 BRAGAR EAGEL & SQUIRE, P.C.
                                 J. Brandon Walker
                                 Todd H. Henderson
                                 885 Third Avenue, Suite 3040
                                 New York, NY 10022
                                 Telephone: (212) 308-5858
                                 Facsimile: (212) 846-0462
                                 walker@bespc.com

                                 Co-Lead Counsel for Lead Plaintiffs and the Class

                                 KENDALL LAW GROUP, PLLC
                                 Joe Kendall
                                 Texas Bar No. 11260700
                                 jkendall@kendalllawgroup.com
                                 Jamie J. McKey
                                 Texas Bar No. 24025262
                                 jmckey@kendalllawgroup.com
                                 3232 McKinney, Suite 700
                                 Dallas, TX 75204
                                 Telephone: (214) 744-3000
                                 Facsimile: (214) 744-3015

                                 Liaison Counsel for Lead Plaintiffs and the Class




340811.1 MATCH                        41
Case 3:16-cv-00549-S         Document 45        Filed 09/09/16       Page 43 of 44       PageID 560



                                  CERTIFICATE OF SERVICE

        I hereby certify that on September 9, 2016, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system which will send a notice of electronic filing to all counsel of

record who have consented to electronic notification. I further certify that I mailed or e-mailed the

foregoing document and the notice of electronic filing to all non-CM/ECF participants.



                                                       /s/ Kara M. Wolke
                                                       Kara M. Wolke




340911.1 MATCH
District Version 6.1.1-                                                                    https://ecf.txnd.uscourts.gov/cgi-bin/MailList.pl?855808439553593-L_1_0-1

                   Case 3:16-cv-00549-S                      Document 45                Filed 09/09/16              Page 44 of 44               PageID 561
         Mailing Information for a Case 3:16-cv-00549-L McCloskey et al v. Match Group Inc et al
         Electronic Mail Notice List

         The following are those who are currently on the list to receive e-mail notices for this case.

               Bruce E Bagelman
               beb@lhlaw.net

               R Thaddeus Behrens
               thad.behrens@haynesboone.com,kimberly.dean@haynesboone.com

               Willie Briscoe
               wbriscoe@thebriscoelawfirm.com,brittney@powerstaylor.com

               Stephen R DiPrima
               srdiprima@wlrk.com

               Gregory Egleston
               greg.egleston@gmail.com,egleston@gme-law.com

               Yolanda Cornejo Garcia
               ygarcia@sidley.com,cpowers@sidley.com,txefilingnotice@sidley.com,sharry.stevens@sidley.com,ncade@sidley.com

               Lionel Z Glancy
               lglancy@glancylaw.com,dmacdiarmid@glancylaw.com,mmgoldberg@glancylaw.com,info@glancylaw.com,rprongay@glancylaw.com

               Todd Harris Henderson
               henderson@bespc.com

               Joe Kendall
               administrator@kendalllawgroup.com,jkendall@kendalllawgroup.com

               Brian P Lauten
               blauten@deanslyons.com,mlogan@deanslyons.com

               Jeremy Alan Lieberman
               jalieberman@pomlaw.com,lfportnoy@pomlaw.com,disaacson@pomlaw.com,lpvega@pomlaw.com

               Roger L Mandel
               rlm@lhlaw.net,loh@lhlaw.net

               Thomas J McKenna
               tjmlaw2001@yahoo.com,tjmckenna@gme-law.com,gmelawny@gmail.com

               Jamie Jean McKey
               jmckey@kendalllawgroup.com,administrator@kendalllawgroup.com

               Alexa J Mullarky
               amullarky@glancylaw.com

               Yvette Ostolaza
               yvette.ostolaza@sidley.com,txefilingnotice@sidley.com,ncade@sidley.com,beth.stevens@sidley.com,benjamin.thomas@sidley.com,kworden@sidley.com

               Lesley F Portnoy
               LPortnoy@glancylaw.com

               Penny P Reid
               preid@sidley.com,txefilingnotice@sidley.com,sharry.stevens@sidley.com

               John Brandon Walker
               walker@bespc.com,wong@bespc.com

               Kara M Wolke
               kwolke@glancylaw.com,info@glancylaw.com

         Manual Notice List

         The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who therefore require manual noticing). You may wish to use
         your mouse to select and copy this list into your word processing program in order to create notices or labels for these recipients.
          (No manual recipients)




1 of 2                                                                                                                                                            9/9/2016 3:17 PM
